                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA,
                                                           DOCKET NO. 3:17cr106

             V.                                                    ORDER

GRANT MASCHIL HINES


   This MATTER is before the Court on Defendant’s Pending Motion, (Doc. No, 3) Motion for
Early Termination of Probation/Supervised Release is relating to his custodial sentence is denied
as moot. He was released from prison on May 4, 2016 and released from Probation on May 3,
2019.

   IT IS ORDERED, that Defendant’s Motion (Doc. No. 3) is DENIED AS MOOT.



                                      Signed: September 21, 2021




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